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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                          CIVIL ACTION

VERSUS                                                         NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                       SECTION: “I”(5)

                                         ORDER

       The Court is in receipt of a reply memorandum (rec. doc. 1312) filed by the City of

New Orleans in support of its Motion for Relief from Court Orders of January 25, 2019 and

March 18, 2019. (Rec. doc. 1281). By previous order of this Court, that memorandum was

to include the City’s responses to nine separate inquiries posed by the Court. (Rec. doc.

1309). The City failed to address the last such inquiry: “To the extent the City proposes

any specific, durable solution(s) as described above, has FEMA been consulted on its

position on such solution(s) since February 25, 2019 and, if so, what was that agency’s

response?” While the City purports to suggest various alternatives to building a special

needs facility, its reply memorandum is silent on this important question. Accordingly, the

City of New Orleans is ordered to submit its response to this question no later than noon,

August 17, 2020.

       New Orleans, Louisiana, this 13th day of         August        , 2020.




                                                  MICHAEL B. NORTH
                                            UNITED STATES MAGISTRATE JUDGE
